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        1.      I am a Special Agent with the Federal Bureau of Investigation ("FBI"), and I have

been so employed since 2003. I am currently assigned to the Cybercrime Squad of the FBI's New

Haven field    office. I     have handled numerous investigations involving counterintelligence,

counterterrorism, and computer crimes. I have participated in the execution of warrants involving

the search and seizure of computers, computer equipment, software, and electronically stored

information and the arrests of cyber criminals. In addition to my work experience, I have received

specialized training in the field of computer crime investigation from the FBI and others.

        2.      I am an investigative or law    enforcement officer of the United States within the

meaning of Title 18, United States Code, Section 2510(7) in that       I   am empowered by law to

conduct investigations of and to make arrests for offenses enumerated in Title 18, United States

Code, Section 2516.      I   am the co-case agent on the investigation which is the subject of this

affidavit and have personally participated in the investigation concerning violations of the federal

laws listed in this affidavit.
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       3.      As a result of my participation and information received from other law

enforcement officers, I am thoroughly familiar with the circumstances of the investigation and the

information set forth in this affidavit. The statements contained in this affidavit are based on: (1)

my personal participation in the investigation; (2) information provided to me by Special Agents

of the FBI and other law enforcement officers; (3) information provided by witnesses and other

sources of information; (4) electronic and financial data and information collected pursuant to

MLAT    requests, search warrants, and grand   jury   subpoenas; and (5) my experience and training.

Unless otherwise indicated, all conversations and statements described in this affidavit are related

in substance and part.

       4.      Based upon the facts set forth below, and as a result of my personal participation     in

this investigation,   I submit that there exists probable cause to believe,   and   I do believe,   that

beginning from on or about January 2016 to the present, in the District of Connecticut and

elsewhere, the defendant, PETER YURYEVICH LEVASHOV, a.k.a. "Petr Levashov," "Peter

Severa," "Petr Severa," and "sergey Astakhov," has committed violations of Title 18, United

States Code, Sections 371 (conspiracy     to commit fraud and related activity in connection with

computers and fraud and related activity in connection with electronic e-mail), 1349 (conspiracy

to commit wire fraud), 1028(a)(7) (identity theft in connection with another federal violation);

1028A (aggravated identity theft), 1030(a)(2) and (c)(2)(B), (a)(a) and (c)(3)(A), (a)(5)(A) and

(c)(a)(B), and (a)(7) and (c)(3)(A) (fraud and related activity in connection with computers),

1037(a)(1), (a)(2), (aX3) and (b)(1) (fraud and related activity in connection with electronic e-

mail), 1343 (wire fraud), 2511 (illegal wiretapping), and 981(a)(1)    (as incorporated   by 28 U.S.C.

$ 2a61(c)) and 1037(c) (forfeiture)   ("the Subject Offenses").
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       5.       Because this affidavit is being submitted for the limited purpose     of securing   a


criminal complaint and arrest warrant,     I   have not included each and every fact regarding this

investigation. Rather,   I   have set forth only the facts necessary to establish probable cause to

believe that LEVASHOV has violated the Subject Offenses.




       6.       LEVASHOV is a Russian citizen, who resides in St. Petersburg, Russia and was

born on August 13, 1980. He is described as a white male with brown hair and brown eyes. A

photograph of LEVASHOV is attached hereto as Exhibit A.

       7   ,    LEVASHOV has been the subject of two prior federal criminal prosecutions. In

the first, he was indicted in2007 (the case was filed on January 3, 2008) under his alias "Peter

Severa" in the U.S. District Court for the Eastern District of Michigan for conspiracy to commit

electronic mail fraud, mail fraud, and wire fraud in violation of 18 U.S.C. $$ 311, 1037(a)(2)-

(aX3), 1037(bX2XC), 1341, and 1343 and several substantive counts of violating 18 U.S.C.         $$


1037(a)(2),1037(bX2XC), and Section 2. Those charges arose from the defendant's participation

from January    l, 2004 until September        1, 2005 in disseminating spam on the part of a group

engaged    in a pump-and-dump penny stock scheme. According to the indictment,             "Severa"

received hundreds of thousands of dollars in payment for this spamming. This indictment remains

active against "Severa."

       8.       The second case was based on a criminal complaint filed in the U.S. District Court

for the District of Columbia, which in 2009 charged LEVASHOV in his true name with two

substantive counts of violating 18 U.S.C. $$ 1030(a)(5)(AXi), 1030(aX5XBXi), 1030(aX5)(A)(i)

and 1030(a)(5XBXV), as well as one count of conspiracy to commit these offenses in violation        of

18 U.S.C. $    371. These charges resulted from LEVASHOV's operating the Storm Botnet from
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January 2007 until September 22, 2008. That botnet, like that which is the subject of this

prosecution, sent spam to facilitate pump and dump schemes and the purchase of grey market

pharmaceuticals. Because the government was unable to apprehend and detain LEVASHOV, it

dismissed the complaint in 2014.

III.   PROBABLE CAUSE

       A.      Background of the Kelihos Botnet

       9.      Beginning on or about May 28, 2013, the FBI began investigating a botnet that

internet security experts have named Kelihos ("Kelihos").        A botnet is a network of private

computers infected with malicious software and controlled as a group without the owners'

knowledge or consent. By definition, this control is without the authorization of the legitimate

owners of the computers.

       10.     Like many computer viruses, Kelihos has been extensively studied since its

detection and, based on the investigation to date, I have reason to believe and do believe that it is

operated and controlled by LEVASHOV. As discussed in depth below, Kelihos harvests email

credentials from infected computers, sends out email spam, and distributes ransomwarel, among

other functionalities. Based on the evidence gathered to date, individuals seeking to have their

spam or ransomware perpetuated by Kelihos pay LEVASHOV, who then commands the botnet to

issue the spam or ransomware.




I Ransomware is a type of malware that encrypts files stored on a computer, rendering the data
inaccessible and inoperable without a passphrase that only the ransomware operator knows. The
ransomware will then demandpayment from the user, typically in the form of some cryptocurrency
like Bitcoin, to retrieve the passphrase required to decrypt and restore their files.
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       I   1.    Based upon my training and experience, some of the most common uses        of spam

email distribution botnets like Kelihos are facilitating the online sale           of grey market
pharmaceuticals and stock market pump and dump schemes, soliciting money mules, distributing

computer malware, and promoting affiliate programs such as pornography website subscription

generation schemes.

        12.      Based on current research and the government's investigation, Kelihos sends spam

using the following general methods. Every botnet must have a control protocol through which

the botnet   ownerwill issue commands to the botnet. Like all botnets, Kelihos has a Command and

Control ("C2") communication protocol, which is the method that a botnet operator uses to

communicate      with the infected computers. Kelihos also uses a Peer to Peer ("P2P")

communication protocol as a control channel. Whereas the traditional C2 architecture results in

every infected computer communicating directly with the C2 sewe?, in a P2P the command and

control of the botnet communicates through   a   proxy server with a series of infected computers and

those infected computers further communicate      with other computers, thereby making it harder to

identify the actual C2 and the individual running the botnet.

        13.      In this case, a Virtual Private Network ("VPN") connection is used to access and

control the botnet. In general, a VPN functions by creating an encrypted connection between an

end user's computer and an end point, or "Proxy,'o controlled by the company or entity




2
  A "server" is a centralized computer that provides services for other computers connected to it
through a network. The computers that use the server's services are sometimes called "clients."
Server computers can be physically located anywhere. For example, it is not uncommon for a
network's server to be located hundreds, or even thousands, of miles away from the client
computers.
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administering the   VPN. The Proxy is        connected to the internet and configured        to   decrypt

commands sent from the end user's computer, and to relay those commands to any internet-

connected computer system, such as Google, Yahoo, or AOL, or in the case of the botnet, the P2P

computers. Conversely, the Proxy can receive information back from the internet-connected

computer systems, encrypt this information, and send       it to the end user's computer. From        the

perspective of the Google, Yahoo, AOL, or the P2P computers, all they can see are the corurections

to the Proxy. However, because the Proxy is configured to relay any information back to the end

user's computer, the end user can see and interact with whatever the Proxy "sees." In this way,

the botnet's operator can use his VPN to access the internet with a high degree of anonymity,

because his true Internet Protocol   ("IP") address3 is hidden behind the Proxy. Moreover,   the botnet


operator can connect to his VPN using any properly configured computer of his choice.a




3
  An "IP address" is a unique numeric address used to identify computers on the lnternet. The
standard format for IP addressing consists of four numbers between 0 and 255 separated by dots,
e.g., 149.101 .10.40. Every computer connected to the Internet (or group of computers using the
same account to access the Internet) must be assigned an IP address so that Internet traffic, sent
from and directed to that computer, is directed properly from its source to its destination. lnternet
Service Providers (ISP) assign IP addresses to their customers' computers. ISPs typically log their
customers' connections, which means that the ISP can identify which of their customers was
assigned a specific IP address during a particular session-

a
  VPNs can be configured many ways. In general, for a VPN to remain private, access is controlled
via an authentication process with a unique identifier, for example a "user name," and a correlating
passphrase or key. The user name and passphrase are often created when a person makes an
account with the VPN provider. In many cases, creating these accounts costs money, and the VPN
provider will accept various forms of payment, to include credit cards or virtual cuffency.
Typically, software from the VPN provider needs to be installed onto the computer which is being
used to connect to the VPN. Once the software is installed, it will be configured to authenticate to
the VPN servers using the user name and passphrase, after which the computer is connected to the
VPN.
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       14.       Once connected to the VPN, the botnet operator can issue botnet commands

through the VPN to aP2P network of C2 computers. The P2P computers are a subset of computers

infected with Kelihos, but which have been selected to relay commands to and from the remaining

infected computers throughout the world. A P2P C2 scheme is at once dispersed and redundant,

and therefore more difficult to disable. The commands received from the VPN are relayed

throughout the P2P network and down to selected individual infected computers, known as worker

nodes, which make up the body of the botnet.

       15.       Computers are infected by Kelihos in a variety of ways. Kelihos can masquerade

as or hide   within a downloaded application, spread through removable storage (e.g., USB thumb

drive), and infect computers from users browsing compromised or hacked websites. The Kelihos

bofiret is believed to use tens of thousands of infected computers.

       B.        Evidence that Kelihos is Used to Commit the Subiect Offenses

        16.      As detailed below, the government has learned through its ongoing investigation

that the Kelihos bobret, over its lifetime, has accessed hundreds of thousands of computers without

authorization to harvest and use tens of thousands of credentials, send hundreds of millions of

spam messages, or distribtrte ransomware. Moreover, the evidence shows that Kelihos uses the

email addresses and password credentials of others, which are means of identification, without the

atthoization of the legitimate owners to   access   mail servers to send spam, all for LEVASHOV's

personal financial benefit. That spam includes commercial advertisements to recruit money mules,

promote grey market pharmaceuticals; and perpetuate pump and dump penny stock schemes.

        17.      As described in greater detail below, the FBI has learned that Kelihos distributes

spam in at least two distinct   ways. First, FBI personnel have observed Kelihos   send spam from

infected computers directly. See flfl 19-22,   infra. Kelihos will command the infected computers
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to function, in essence, as mail servers and distribute spam to recipient email addresses passed to

the computer from the botnet. In these cases, Kelihos uses email addresses and randomly

generated   first and last name combinations not associated with the true account from which the

spam     came. Thus, for        example, the spam       will be made to          appear   to   come from

[username]@gmail.com when in reality        it came from      the infected computer. In this way, the

header information     in the spam has been materially altered to make the true source of the spam

more difficult to detect, uncover, or   filter.   Second, Kelihos     will   send spam from mail servers

(such as those owned by Earthlink or 1&1 Mail & Media for example) by gaining unauthorized

access   to them using actual email address and password credentials Kelihos has harvested from

infected computers and tested for functionality. In those instances, the spam is, in essence, sent

from the victim's email address through the mail server but without the victim's knowledge or

authorization. Moreover, because the spam message is sent directly from the mail server, it is not

likely visible in the victim's "Sent Items" folder.   See   flfl 23-31 infra.

         18.    Regardless     of which way Kelihos         distributes spam, the amount       of   spam it

distributes is voluminous. Based on industryresearch and the government's investigation, Kelihos

has been observed       to   send out hundreds    of millions of    spam messages     in a   year, thereby

distributing more than 100 spam messages during a 24-hotr period, more than 1,000 spam

messages during a 30-day period, or more than 10,000 spam messages during a one-year period.

                   L     Evidence from the Bottom            of Kelihos's Infrastructure: The Self-
                         Infections

         19.    Beginning on or about March 5,2016, in an effort to better understand Kelihos's

functionality and with FBI's knowledge and authorization, agents self-infected a government
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computer located in New Haven, Connecticut with Kelihos. This computer was not used by agents

except to monitor and study the Kelihos infection.

       20.     In monitoring the infection, FBI personnel have witnessed Kelihos engage in

encoded communications with what I believe to be P2P computers as described above. After such

communications took place, FBI personnel have witnessed the self-infection conduct a large

number of Domain Name System ("DNS") queriess for mail servers such as those administered by

Yahoo, Google, and AOL.

       21.     The FBI then witnessed the self-infected computer send, or attempt to send, plain

text spam messages through email addresses hosted on the servers at the previously identified IP

addresses. The majority       of email   spam witnessed contained either (1) information urging

recipients to buy "penny stocks," including a stock with the ticker symbol "APTY," or (2)

hyperlinks which,   if   clicked, would direct the recipient to another website. A hyperlink is an

electronic link embedded in a digital document which provides direct access to another location or

file, and is typically activated by clicking on a highlighted or underlined word or image. The

majority of the hlperlinks witnessed, when clicked, took the recipient to websites purporting to

sell Canadian prescription drugs, such as Lipitor, Celebrex, Zitfuomax, and Viagra, which are

manufactured   by Pfrzer, fnc., a      pharmaceutical company that has multiple locations in

Connecticut.




s A ONS Query is the method by which a computer converts a domain name, for example
www.google.com, to an IP address, for example 168.28.8.18. The format of a domain is intended
to be easily remembered and used by the human, whereas the IP address is what the computer uses
to exchange data.
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       22.     The websites witnessed by clicking on hyperlinks contained in the spam were

publicly available, and were either unauthorized pages on legitimate sites which had been created

without the knowledge of the legitimate owner or were completely counterfeit websites wholly

unrelated to any legitimate company. It is unknown at this time whether the websites were created

by the owner of Kelihos or by third parties. The spam was delivered to recipients both in the U.S.

and internationally (including Russia, Belgium, and Japan).

        23.     The FBI studied Kelihos's behavior through           a   second set   of   self-infections

conducted on virtual machines6, which replicated the behavior of a physical computer without

actually sending spam, from approximately July 27, 2016 to the present. This behavior can be

broken into the following five general categories, as explained in detail below:

                         Establishing Persistence on the Host

                         Harvesting Email Addresses and Usernames and Passwords from the Host

                         Host Communicating with the Botret

                    .    Host Sending Spam

                    e.   Remote Execution of Commands on the Host

        24.     Establishing Persistence on the Host: After Kelihos executes for the first time on

a self-infection,   it loads into the computer's memory ("Kelihos     Process   Memory"). After this,

Kelihos changes the self-infection's Windows RegistryT such that Kelihos will automatically load

each time the self-infection is rebooted or turned on and     off again; this is known   as "establishing




6
 A virtual machine is a software computer that, like   a   physical computer, runs an operating system
and applications.
7
 The Windows Registry is a key component of all Windows operating systems that allows for
persistent changes like this to be made. Kelihos only affects Windows computers.

                                                  10
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persistence." This step ensures that once infected, Kelihos continues to run for as long as possible

on any infected host system.

          25.      Harvesting Email Addresses and Usernames and Passwords from the Host: After

establishing persistence, Kelihos attempts to harvest credentials from the infected computer in

multiple ways. First, Kelihos searches for text-based files on the infected computer's local drive

       ooc:"
(the           drive). Once a text-based file is found, Kelihos   reads the contents   of the file. To

determine that Kelihos was searching these files for email addresses, on or about February 7 ,2017    ,



the FBI created several files and saved them in different locations on a self-infection; each text file

contained extraneous text data along with legitimate email addresses. After Kelihos was observed

searching for text-based files, the email addresses contained within the random locations were

observed within Kelihos Process Memory.

          26.       Second, Kelihos searches specific locations on the computer for files known to

contain usemames and passwords, including locations which store such data for several cofllmon

internet browsers, including Chrome, Firefox, and lnternet Explorer. On or about February 6,

2017, the FBI stored a fictitious email address and password          in Internet Explorer on a self-

infection. After Kelihos was installed, this username and password was observed in Kelihos

Process Memory.

          27.       Third, Kelihos searches for usernames and passwords for Windows programs that

use File Transfer Protocol    ("FTP"). As its name   suggests, FTP is a standard network protocol used


for the transfer of computer files between computers. For example, pictures located on a computer

could be backed up to a server in another location using FTP functionality. On or about October

29,2016, a username and password was stored on a self-infection using the program "FileZ7lla,"
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a corrmon FTP program. After Kelihos was installed, the username and password were also

observed in Kelihos Process Memory.

        28.     Finally, Kelihos installs a software program called WinPCAP, which is able to

intercept and examine electronic communications traversing the computer's network card in a

Windows computer. Kelihos was observed commanding WinPCAP to intercept the contents               of

all incoming and outgoing network traffic on an infected computer. More specifically, Kelihos

used this WinPCAP functionality      to   search   for email usernames and passwords in the self-

infections' network traffi c.

        29.     Host Communicating with the Botnet: To communicate, each self-infection

establishes communications charurels      with other Kelihos-infected computers. Through these

channels, the self-infections receive and send data to other infected computers. However, because

the data is encrypted and could not be directly observed, its contents were inferred from changes

to the contents of Kelihos Process Memory, which the FBI could see. After establishing             a


connection, the infected computer obtains new IP addresses, as observed        in Kelihos   Process


Memory. The self-infections were then observed communicating with infected computers located

at these newly obtained IP addresses. The self-infections then communicate in a "Peer-to-Peer"

manner, with multiple communications         to many different infected computers at various      IP

addresses, during which time new IP addresses would be periodically updated into Kelihos Process

Memory.

        30.     After the email   addresses and usernames and passwords were observed being

harvested   by Kelihos from the self-infections, the self-infections exchanged encrypted data with

other infected computers. Notwithstanding the fact that encryption is used to hide the contents   of

the data sent to and from infected computers, there are five observable facts that support the

                                                    t2
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conclusion that username and password credentials are harvested from infected machines. First,

data at rest   in files on the local hard drive appears in Kelihos Process Memory, which shows that

Kelihos commands the infected computer to search the contents of files on        a hard   drive specifically

for email addresses and usernames and passwords. The results of this search---email addresses

and usernames and passwords-are not required for the locally infected bot to send spam, but are

seen, nevertheless, in Kelihos Process      Memory. Second, the infected computer is in constant two-

way communication with the botnet, both sending and receiving a non-trivial quantity of encrypted

information    .   Third,analysis of the botnet's top-level infrastructure revealed that tens of thousands

of email address and password combinations are consistently being tested for functionality. That

is to say, part of the Kelihos botnet is a particular server, further discussed below, which attempts

to login to mail servers using stolen email addresses and passwords. Fourth, this same server has

also been observed providing a collated list of email addresses, passwords, and IP addresses back

to the VPN/Proxy currentlybeing usedby LEVASHOV (i.e., the .90 seryer discussed                infra). Fifth,

analysis of this collated list has confirmed that (1) a portion of these credentials are authentic; and

(2) these credentials are used by Kelihos to directly login to mail servers and send spam.

        31.         Host Sending Spam: Based on observations of the Kelihos Process Memory and

network activity, the self-infections were observed to receive from the botnet a list of surnames, a

list of destination email addresses, and spam templates. The sumames and spam templates were

used   to create dynamic spam messages, in that there were slight differences between                   each


individual spam message. The spam emails were then observed being sent from the self-infections

to the destination email addresses.

         32.        Remote Execution of Commands on         Host' On three different   occasions, files were


downloaded         to a self-infection. On or about         September 22, 201,6, Kelihos downloaded a

                                                       13
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ransomware executable program called "JokeFromMars" to the self-infection.       At the time that

JokeFromMars appeared on the self-infection, Kelihos was the only application running; no other

applications were open nor was there any other malware running on the self-infection that could

have generated an automated request to download and save the ransomware to a specific location

on the computer, as was the case here.

       33.      Subsequently, the files on this self-infection became encrypted, and the desktop

wallpaper changed to an image which contained the text: 'oYour personal files are encrypted   !!!"
In addition, a message window appeared on the self-infection that provided instructions on how to

pay the ransom to obtain the passphrase to decrypt the files, which read:

       Your documents, scripts,photos, databases and other important files have been
       encrypted with strongest encryption algorithm AES-256 and unique key, generated
       for this computer.

       Private decryption key is stored on a secret Internet server and nobody can decrypt
       your files until you pay and obtain the encryption key.

       You only have 96 hours to submit the payment. If you do not send money within
       provided time, all your files will be permanently crypted and no one will be able to
       recovery them.

       Press   'View' to view the list of files that have been encrypted.
       Press   'Next' to connect to the secret server and follow instructions.

       WARNING! DO NOT TRY TO GET RID OF THE PROGRAMM YOURSELF.
       ANY ACTION TAKEN WILL RESULT IN DECRYPTION KEY BEING
       DESTROYED. YOU WILL LOSE YOUR FILES FOREVER. ONLY WAY TO
       KEEP YOUR FILES IS TO FOLLOW THE INSTRUCTION.

The ransom demanded was 0.6 bitcoin (BTC), which was at the time equivalent to $362.69. To

make the payment, the ransomware provided the user instructions on how to acquire Bitcoins and

how to connect to a Tor (i.e., dark web) hidden service in order to make the payment.
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       34.    On or about November 22,2016, the "Vawtrak" banking Trojan was downloaded

to an FBI self-infection. A Trojan is a type of malware that allows someone to gain remote,

unauthorized access to an infected computer. When Trojans are written specifically to gather

financial information from an infected computer, such as credit card numbers or usernames and

passwords for bank websites, these may be referred to as "banking" Trojans. Vawtrak primarily

aims to steal login credentials used at financial institutions and send them to those who control

Vawtrak. The FBI's analysis showed that Kelihos commanded the infected computer to download

Vawtrak. Further analysis determined that the Vawtrak was downloaded and executed within one

second, an indication that the process was automated      via Kelihos and not done by human

command.

       35.     Finally, on November 2,2016, a Word Document that contained malicious code

was downloaded and saved to the desktop of a self-infection, and further analysis indicated that

Kelihos initiated the download. At the time of the download, Kelihos was the only running

application on the self-infection and, based on my training and experience, the download must

have been performed by a running process. In this instance, Kelihos did not open the Word

Document such that the malicious software would      run. Analysis of the code within the Word

Document showed that, were it to be executed from the desktop of the self-infection, the Kronos

banking Trojan would have been installed. Kronos primarily aims to steal login credentials used

at financial institutions and send them to those who control Kronos.
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                iL    Evidence from the Top of the Bot's Infrastracture: the Luxembourg and
                      Dutch Servers

                         a.   The Dashboard

       36.    Private industry researchers identified IP addresses associated with a VPN located

in Luxembourg that they believed was   used   to support the operations of the Kelihos botnet. In

coordination with Luxembourg authorities and pursuant to a Mutual Legal Assistance Treaty

(MLAT) request in or around January 2016, federal agents investigating Kelihos received      data


from two servers associated with these IP addresses and continued to receive data from these

servers until on or around November 2016.      ln addition to the two Luxembourg IP    addresses,


agents also identified four IP addresses hosted in the Netherlands. Based on this information, on

or about August 29,2016, agents requested via an MLAT request, data from the four Dutch IP

addresses and have received data pursuant thereto.

       37.     Examination of the data collected from these Luxembourg and Dutch servers,

which is ongoing, revealed multiple associations between the Kelihos malware, its backend

architecture,s Severa, and his believed true identity: LEVASHOV.

       38.     One of the Luxembourg servers, which has the IP address 94.242.250.88 ("the .88

server") and one of the Dutch servers, bearing the IP address 85.17.31.90 ("the .90 server"), both

contained data evidencing that the VPN (a) functioned as a portion       of the Kelihos   backend

architecture and (b) was used by LEVASHOV, a.k.a. Peter Severa, to communicate with potential

botnet customers.



8 "Backend architecture" refers to the part of an IT system known to and accessed only by
administrators or owners of that system. Typically, access to the backend architecture of an IT-
system is closely protected. Commands run from the backend architecture can be powerful and
impact the entirety of the IT system in question.
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       39.     Specifically, the VPN data showed access to a website that provided information

on the botnet's operational status and activity; such a website can be referred to as a "dashboard"

for the botnet. Thus, by accessing this website, the botnet operator can view critical functions   of

the botnet at one glance. Such dashboards are very commonly encountered in the investigation       of

botnets as they make administration and troubleshooting much easier for the operators.

        40.    For Kelihos, the dashboard includes information from which the operator could

discern quickly how well the botnet was functioning.

        41.    Specifically, the VPN data contained information concerning the status of the

botnet's "Golden Parachute Domains." Golden Parachute Domains are a means by which the P2P

C2 computers can reconnect with the C2 in the event that communications are obstructed.

Specifically, computers infected with Kelihos can perform a DNS query for a specific domain        -
such as gorodkoff.com or goloduha.info, both of which are used by Kelihos       -   and then use the

provided IP address to establish   a   backup C2 channel to receive commands outside of the P2P C2

computers. In this way, if the P2P layer of C2 computers were eliminated, the owner of Kelihos

has written into Kelihos code such a backup plan so that he could     still maintain some degree of

control over the botnet.

        42.     In my analysis of the Luxembourg VPN data, gorodkoff.com, goloduha.info, and

other domains are specifically referenced in the data, with color codes used to indicate their

readiness status. The data specifically showed a line-graph with plots of two different colored

lines along with a legend describing the colored lines as "Golden Parachute Req/sec" and "GP ID

Uniq/sec". Based on my experience and training, I believe that this graph shows the effectiveness

of the golden parachutes.
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          43.   Also useful to the botnet operator was another line graph found within the data.

That graph had several different colored lines with a legend which described those colored lines

as,   "Other," "'WinXP," "Win7," and "Win8." I believe that this graph documented the extent of

the Kelihos infection by operating system.

          44.   Both of these graphs are useful tools in determining whether Kelihos is operating

at full potential by noting when and how often it was being detected and whether certain operating

systems are more or less susceptible to infection.

          45.    Similarly, other portions of this dashboard include antivirus and blacklisting

reports. This indicates that Kelihos's operator actively monitors whether or not his infrastructure

has been identified   by antivirus or other blacklisting services, as such blacklisting could reduce

the reliability and access of his network. Ofnote, the panel indicates that both ofthe servers hosted

in Luxembourg appear to be tracked by at least one antivirus vendor,    as   their IP addresses appear

within a list of other IPs all believed to be associated with Kelihos, and is correspondingly linked

to an antivirus product.

          46.   Agents found another image which contained a bar graph and two different colored

bars, the legend of which described the colored bars as "Total emails m./secoo and "Clean emails

m./sec." Based on my training and experience, I believe that this graph evidences the speed at

which the email messages are being distributed.

         47.     Yet another portion of the dashboard catalogues the spam messages that Kelihos is

distributing. Specifically, the dashboard contained multiple truncated hyperlinks, which change

over time. Agents have previously observed truncated hyperlinks such as "http://ostrich.slwp ...

ch.slwpejmz.rul" and associated subject lines, such as "Subject: Keep your ... glrl happy." Both
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the truncated hyperlinks and subject lines were consistent with spam emails observed being sent

by self-infections and which appear to facilitate the purchase of grey market pharmaceuticals.

       48.     Similarly, previous data has included the following text: "Attent: I will get $14000

flipping this pick! Its mega easy folks, I purchased at $.16. Wowza, 105% in          1   day! What is the

play? Ok, it's A P T_Y. And guess that, Impurchasing stock of APT Systems [nc. asap. Because

I load at $0.23 on Friday I will sell it at .66 very fast, study company prs. Go load additional A      P


T_Y at $.23 on Mar,    11'h and   exit it at $0.66."

        49.    This text is consistent with spam emails observed being sent by the self-infections

and which appear to facilitate a stock manipulation scheme, known as "pump and              dump." Based

on my training and experience, I know that these schemes, which usually manipulate low priced,

or "penny'' stocks, attempt to change stocks by drastically increasing volume. For stocks in which

there are few overall shareholders, or which are generally not traded in large quantity, a small

increase in purchase activity can result in a large increase in stock price.

        50.     Yet other recovered data concerns communications between "Peter Severa" and at

least one individual attempting to rent     Kelihos. Specifically, the data from the .88 server showed

communications between an unidentified individual and "Peter Severa" in which the former wrote:

                                                   Redacted



The reply to the unidentified individual, dated        Redacted   016, was sent from peter@severa.biz to

            Redacted               and states:                             Redacted


                                                 Redacted                                             The

unidentified individual then responded,                                   Redacted


               Redacted                   At the bottom of the communication was the salutation, 'oBest
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regards, Peter Severa, E-mail: peter@severa.biz." Both WebMoney and bitcoin are well-known

crypto currencies which can be used to easily transfer money across the Internet.

                51.           Additionally, data from the .88 server contained email associated with the

peter@severa.biz email account. Based on my training and experience,                        it   appears that the VPN

would reach out at regular, automated intervals to retrieve emails associated with this account.

                52.           The Luxembourg data also evidenced several servers that comprise the backend

architecture utilized by LEVASHOV to administer the Kelihos botnet. The servers were found to

be located in a number of countries, including two servers in the Netherlands with the IP addresses

8   5. 1 7. 3   1   .   90 (".90") and 9 5.21 | .230.209 (" .209").

                53.           Sometime near the end of October 2016, the VPN functionality of the .88 server in

Luxembourg transitioned to the .90 server in the Netherlands. Through an MLAT, the FBI has

received data from both the .90 and .209 servers in the Netherlands. Contained within the data

from .90, I observed a similar dashboard to that which had been on the .88 and which is described

supra.

                                          b.   The dstab|3l File

                54.           I also observed multiple   requests from .90 to .209 for a   file named "datab831." I

extracted the file from the data, and observed it to contain thousands of rows of text, each divided

into three columns. Based on my training and experience, these columns appeared to contain email

addresses, passwords, and IP addresses. The                    FBI identified the owner of one such email address

observed                in datab831 ("Email Address 1") and determined that the owner was a resident of

Connecticut ("Victim                  1"). The FBI has interviewed Victim     1 and showed her Email Address        1



and the associated password, both obtained from datab831. Victim 1 confirmed that Email

Address 1 was hers and her late husband's, and that the password was                   correct. Victim 1 further
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confirmed that she did not authorize anyone to use her email address and password to send out

spam or access her account or otherwise communicate with the mail server.

       55.    I conducted further analysis on .209's data, and observed that it was attempting to

authenticate, or log   in, to hundreds of mail servers using email     addresses and passwords     in

combination with the Simple Mail Transfer Protocol ("SMTP"). SMTP is a widely used basic

protocol for internet electronic mail transport. When an SMTP client, in this instance .209,has a

message to transmit,   it   establishes a two-way "transmission channel" to an SMTP server. In this

instance, I observed .209 corurecting or attempting to connect to thousands of mail servers. Once

the transmission channel is established, the SMTP client normally initiates a "mail transaction."

Such a transaction consists of a series of commands to specify the originator and destination email

addresses and transmission of the email message content     itself. The mail server   responds to each


command with a    reply. Replies may indicate that the command was accepted, that additional

commands are expected, or that a temporary or pennanent error condition exists. Once a given

mail message has been transmitted, the SMTP client may either request that the connection

between itself and the mail server be shut down or may initiate other mail transactions.

        56.    In my preliminary review of data for .209 for the time period of November 8, 2016

through November 28, 2016,I observed hundreds of instances wherein the SMTP command

"AUTH" was issued from .209 to mail servers. [n general, the AUTH command is used to

authenticate, or log in, to a mail     server. Should the SMTP client successfully complete the

authentication exchange, the mail server issues a reply consisting of a line containing the numeric

completion code "235" typically followed by a text string. ln many of the cases I observed, the

authentication was not successful, as the 235 completion code was not observed and the transaction

channel was shut down. However, in other cases I observed the 235 completion code being sent

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from the mail server to .209. Based on my training and experience, the sending of this code

indicates that the mail server confirmed the authentication of the email username and password,

thereby granting access to the account.

        51.       Based on the domains of the email addresses (i.e. the portion of the email address

after the "@" symbol) used by .209 to authenticate to the mail servers during the time period      of

November 8,2016 through November 28,2016,I observed logins to mail servers operated from

many countries, including the United States and Russia. For the United States, I identified several

such instances that contained the AUTH command        followedbythe 235 completion code. In these

instances, the values observed after the 235 completion code included, "auth ok, go ahead,"

"Authentication succeeded," and "Authed. Go on." I also observed that, in certain instances, the

email address and password combinations used to login to the mail server were also present in the

databS31 file.

        58. I am aware of and in contact with an industry researcher who was previously
monitoring   a   "router node" within the Kelihos botnet. Router nodes are the "Peer-to-Peer" middle-

level of the botnet, and in addition to sending spam, they function as an interconnected relay

between the lowest-level of infected computer in the botnet and the highest-level servers at the top

of the botnet's infrastructure. This researcher has confirmed that on multiple occasions, he has

seen   this router node log successfully into mail servers using a username and password, and

thereafter send spam from the same. On or around March 21,2017, this industry expert provided

me with apartial list of email addresses he observed his router node accessing and sending spam

from. One of these email addresses ("Email Address 2") was observed being            accessed   by the

industry expert's router node in December 2016 and January 2017, and spam was thereafter
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distributed. This same email address was previously observed by the FBI being logged into by

.209 in multiple instances in November 2016.

       59.         Based on this information and my training and experience, I believe that .209 of the

Kelihos botnet tests email usemames and passwords that are in its possession against the email

service providers'mail servers to determine       if they are legitimate   and still current. Once those

credentials have been authenticated, they are distributed to Router Nodes within the botnet where

they are used to send spam through mail servers, as well as to LEVASHOV's VPN as datab831.

       C.          Evidence Attributing Kelihos's Criminal Conduct to Severa

       60.         As discussed below, the botnet herder for Kelihos is a person who uses the

nickname or alias "Peter Severa." A botnet herder, or botherder, is an individual who operates or

controls the botnet.

       61.         Using this nickname or alias, LEVASHOV offers certain services that his botnet

can provide, including sending spam, in exchange for money. Moreover, I know based on my

training and experience that successful botnet herders such as LEVASHOV are familiar with the

functionalities, limitations, and operation of their botnet. Finally, in order to continue offering

services andmakingmoney, botnetherders such as LEVASHOV mustbe able to control, maintain,

upgrade, and market their botnet.

        62. It is common for criminals            engaged   in   computer crime to utilize nicknames,

especially on the criminal forums on which they exchange data on criminal techniques and offer

products and services for sale. The use of nicknames allows them to protect their true identity,

while still allowing for the benefits of name and product recognition. While there are a large

number of Internet forums devoted to the exchange of criminal services and techniques, many

criminals   will   use the same nickname on different    forums. This is likely due to perceptions of

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anonyrnity, as well as the reliance upon reputations tied to nicknames. In these communities,

actors are known principally by either their given nickname, or an email, jabber, or ICQ handle.

Jabber and ICQ are 'ochat" applications. These reputations become important both in the exchange

of data, and access to marketplaces in which products and services are sold.

       63.     Upon examination of many criminal forum accounts in the name "Severa," I have

noted that in the majority, the ICQ number 104967 has been utilized since at least 2010. ICQ is a

popular Internet instant message service in which users are identified by unique numerical values,

known as ICQ numbers. Based upon my training and experience, I know that online monikers,

such as ICQ numbers, are rarely changed or transferred by online criminals. Therefore, I conclude

that the combination of an identical ICQ number and nickname are indicative of the           same


individual accessing and utilizing these accounts.

       64.     Severa has used this ICQ number to market his   botrets. For instance, in May 2015,

the FBI received the following information pertaining to a vendor on the Russian criminal site

Korovka.cc. The vendor was advertising "webmailer email spam" capability and the information

he provided read as follows:

       Username: "Severa"
       Registratio n: 12 I 2 I 20t I
       Jabber contact : j abb er @honese. com
       ICQ: 104967
       Service: Email spam
       Details: The service was offered since 1999 and delivered spam to a
       recipients inbox. Every spam launched used several thousand clean IP
       addresses and accounts. Unique algorithms and technologies were
       constantly improved. Seller has US and Europe email databases for spam,
       and fresh databases received daily. Prices per million spam delivered were
       $200 USD legal advertisement, adult, mortgage, leads, pills, replics, etc...
       $300 USD job spam (drops, mules, employment), and $500 USD
       scam/phishing attacks.
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        65.       This information conveyed that Severa's spamming was superior to that of his

competition and would be less likely to be detected ("clean IP addresses and accounts" and "unique

algorithms") and that he had been doing this for a long time ("since 1999").

        66.       Similarly, on   or   about January 14, 2017, Severa posted the following

advertisemente an online forum called "Club2CRD":

       Hello.

       I am offering my spamming service via electronic mail to everybody who is
       interested. I have been serving you since the distant year 1999, and during these
       years there has not been a single day that I keep still, by constantly improving
       quality of spamming. Now at your service there is the only one in the world unique
       technology of spamming via electronic mail, which provides maximum possible
       probability of delivering your message to the final recipient.

       Today I conduct all spamming via webmail. Each spamming is being done from
       dozens of thousands of clean IP addresses and accounts. To generate a message
       there are used unique algorithms and technologies which I have been constantly
       developing and improving. Every spamming is being automatically monitored for
       quality, with regular automatic spamming and running test messages.

       I conduct spamming on my databases of USA [PH], Europe, or other countries you
       are interested in. I am constantly collecting and testing new addresses from different
       sources. Databases are updated daily and I have enough of collected volume, in
       order to provide individual databases of addresses for each new spamming.

       The prices for one spamming (for a million of delivered messages) are:
       $200.00 - legal advertising, adult, mortgage [PH], leads,     pills [PH], replication
       [PH], and etc.
       $300.00 - drops, also known as employment spam
       $500.00 - scam, phishing

       I am interested in large clients, and I actively incentive that with large discounts.
       The larger is the order volume, the bigger is a discount. Discounts start just at two
       million, and they may exceed 50%. Verify prices for any amount more than one
       million.


e The advertisement,  which was written in Russian, was later translated into English by a FBI
linguist. The references in the advertisement to "[PH]" are those of the linguist and reflect that a
word has been translated phonetically.
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          For contact use Jabber (XMPP): jabber@honese.com
          An alternative communication channel is ICQ 104967.

          I always welcome new and old clients,       as   well as feedback!
          Good luck and keep it up.
          Petr Severa

          67.        Severa continues to operate and profit from the Kelihos botnet. On or about March

20, 2011, a law enforcement officer acting in an undercover capacity ("UC")                       Redacted


     Redacted       contacted Severa, who       is   believed    to be outside the United         States, at

jabber@honese.com to indicate interest in purchasing one or more spam deliveries. Upon an initial

inquiry looking for the "services of Peter Severa" and a request to confirm pricing and services

offered, Severa responded on March 21,2017l. "Hi, I am Peter Severa. I were away. what do you

want to send? job offes, dating, phishing, malware? or what?"

          68.       In subsequent exchanges between Severa at jabber@honese.com and the UC on

March 20,2017, Severa stated that he accepts bitcoins. "Job offers"-which I know based on my

training and experience refers to money mule solicitati6nsl0-*"re priced at "300 usd per 1 million

emails, 450 per 2 m71." However, Severa also indicated price differentials for different kinds               of

spam deliveries: "phishing, scam etc 500 usd per 1 mil . .         .750 per 2." Severa confirmed that the

UC couldpurchase spam to be sent onlyto a specific country (including the United States). Severa

stated:   "i   need just payment and letter to start," and instructed that, "after payment put   it to archive

with password and upload to sendspace.com." According to sendspace.com's website, "Sendspace




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  A "mule" or "money mule" is an individual who is used to transport or launder stolen money in
furtherance of criminal activity and its related organizations. These individuals can be either
wittingly or unwittingly participating in the fraud.
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is the best way to send large files, too big for email attachments, to friends, family and businesses,

anywhere in the world." Severa also indicated that he has "10-15 orders daily."

        69.      On or about March 21, 2017, the UC paid Severa in bitcoin to purchase a spam

campaign to be directed at the United States. The spam email submitted to Severa included a link

to a website advertising "work from home" job opportunities. Severa responded that the "Mailing

takes 3-4 hours, but response can come during2-4 days, people don't read emails instantly." He

againreiterated that he has "10-15 orders daily."

        70.      The UC then asked Severa:    "i   had client recontact me about ransomeware. you can

do?" Within approximately twenty minutes, Severa responded via Jabber:

        I do mailings for installs, it costs 500 usd per 1 million emails, 750 usd per 2 mll,
        lk per 3 mil. I can't send attached file inbox on volume, nobody can now, so
        send letter just with link to file or landing. I need just payment and letter to start.

        you need fresh text which never sent before, and you should randomize it by
        synonyms, by my template. You can use synonym.com service to find variants.
        You can do html message, but images only by links, not attachments.

        Template:
        {SpamlBlackmailinglPhishing Mailing} is {goodlvery goodlthe best} ! Always
        {sendluselorderlask for} {itlthis} t.l! l! ! ! }

        Samples(don't write these, it's generating automatically)    :

        1) Blackmailing is good! Always order it!
        2) Phishing Mailing is the best! Always use it!!!
        3) Spam is the best! Always send this.

                                                        o'Freelance Copywriter", they do   it
        If you don't want to write it, you   can google
        cheap,                                           Redacted
                    Redacted
        If you need to use links, better to use redirects. Many people do it on hacked
        sites, you can buy ftp/ssh accesss for 1-2$ on forums. You can also use free
        redirects like goo.g1, but it can be closed faster.
                                                   Redacted
                               Redacted
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Based on my training and experience and the UC's question and the text of his response,     I

believe that Severa's reference to "mailings for installs" refers to the distribution of

malware, including ransomware.

       71.     The UC then asked Severa whether he also "send[s] out stocks or pharma? does

pricing change. " Severa immediately responded:

       SEVERA:        legal offers?
                      stocks what do you mean?
                      pharma is 200 usd per I million emails

       UC:     pennystocks..buy/sell

       SEVERA:        it's PD
                      pump and dump
                      i have 25 mil traders list
                      my price usually is 5o/o of trade
                      with 5-10k deposit

       UC:     fair

       SEVERA: 5%by yahoo numbers
       UC:     ok. good to know in advance

       SEVERA: (PrevClose+LastPrice) l2*            Volume * 5olo
                      i can move it good, just find the stock
                      and we need deposit
                      i'll subtract each day numbers, when it 0 i stop
       UC:     i've know some people in the market who suggest stocks from time to time

       SEVERA:        ask them
                      we need the stock, if they can release news on it   - it's cool too
                      people buy on news
                      5-10k usd deposit, I accept btc or wire. or wmz

Based on my training and experience, I believe that "btc" refers to bitcoin and"wmz" refers

to WebMoney.
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         D.     Evidence Establishing thut Severa is LEVASHOV

         72.    Based on an ongoing analysis of the VPN data as well as other investigative steps,

I have reason to believe, and do believe, that the person claiming to be the Peter Severa operating

the Kelihos botnet is actually LEVASHOV.

         73.    The Luxembourg VPN data contained multiple references to accounts known to

belong to Peter LEVASHOV. Specifically, the data contained email communications related to

al"app," or mobile phone application, which       has been developed      by "Petr Levashov" and two

other employees. The name of the app was listed in Russian as Xorra6rrq, but can be Romanized

as   "Khottabych" or "Hottabych." Khottabych, which is also the name of a genie in an old Russian

film, appeared to be an app not related to the Kelihos botnet described above. The Khottabych

app was active and available for download on the Google Play app store and in Apple's iTunes

app store.

          74.    On or around May 11,2016, agents conducted an internet search for Khottabych

and visited the website https://play.google.com/store/appsidetails?id:ru.hottaby4.app&h1:ru.

This website contained the text, "Xorra6rru by Petr Levashov," along with a description in

Russian which, when translated, stated that the app was designed as a concierge-type service that

can be used to order food, call a taxi, or book air or railway   tickets. The application also advertises

that it has "well-trained professionals" to locate services, plan business trips, and even arrange for

dates and parties. Roughly translated from Russian, the app advertises itself as "not        just an app

secretary," but "a real genie who dwells in your smartphone!"

          75.    Xor:ra6rr.r was also available for download on the Apple iTunes app store.

According to the Apple iTunes app store pa3e, Xoma6rr.I was released on March 21, 2016 by

"Petr Levashov" and a user could download it for free'

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       16.      In the seized VPN data from the Luxembourg servers, agents also found the

following text: "Hello Google Play Developer, We're excited to announce the launch of               a


redesigned Google Play Developer Policy Center, an online resource which strives to provide

developers with greater transparency and insight into our program policies," and, further down in

the text, "You have received this mandatory email service announcement to update you about

important changes to your Google Play service or account." Based on the time stamps in the data,

this email was sent on or around March 1,2016.

       77. The Luxembourg VPN data also showed                        access   to an email account
pr@hottaby4.ru, which is an e-mail publicly associated with the Xorra6rr.{ app. According to

records from Google, this email account is linked to a Google account with the name Hottaby4

Jinn, which has no Google email services associated with it, but does have Google Talk, Web

History, Google Analytics, and phone number associated with it.

        78.     Apart from the development of LEVASHOV's mobile application, the Dutch VPN

data indicated that LEVASHOV utilized a digital certificate servicell offered by the company

GeoTrust. The data, found within an email sent from renew@geotrust.com to petr@hottaby4.ru

on November 23,20l6,referenced order #13212476 placed for a "RapidSSL Wildcard" certificate

in relation to his domain, hottaby4.ru. As a consequence,         I   obtained records pertaining to

LEVASHOV's order with GeoTrust. Those records detailed that the order had been placed by

customer Peter LEVASHOV, who identified himself as resident of Saint Petersburg, Russia, with

telephone number ending in 0594 and email address petr@hottabyr.ru. The certificate order was




ll A digital certificate, similar to identification cards, are electronic credentials that are used to
certify the on-line identities of individuals, organizations, and computers.
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associated with his domain hottaby4.ru and had been placed on December 15, 2015. This order

was initiated from "Client IP address" 91.122.62.16; however, less than two minutes later, the

order was approved from Client IP Address 94.242.250.88. As has been described previously, the

latter IP address has been identified as the VPN utilized by LEVASHOV during most of 2016 for

his Kelihos-related activities; however, the former IP address is assigned to the Saint Petersburg

branch of Rostelecom, a telecommunications (including broadband internet) provider in Russia.

        79.       Based upon previous investigation       by agents, I am aware that LEVASHOV

maintains an Apple account with the Destination Signaling Identifier (DSID) 1972828024 and

Apple   lD    pete777@mail.ru. In February 2017,I submitted a court order to Apple requesting

records pertaining to this account. In reviewing the response provided by Apple,      I observed that

LEVASHOV obtained many of his recent downloads via the IP address 91.122.62.16. hr fact, the

vast majority of downloads between the period May 20,2016, to February 16,2017, came via the

same address. This       is similar to records previously obtained from Apple which I have       also


reviewed. In those earlier records, I was able to observe that LEVASHOV had obtained downloads

from   91   .122.62.16 from as early as August 5,2016.

            80.   Cross-referencing that   IP   address   with WebMoney records   I   had previously

obtained from the Government of Lithuania via an MLAT request, I discovered that the same IP

address was found to have accessed the WebMoney identifier (i.e. account) ending        in 4986. Of

note, registered under this account is the WebMoney purse ending       in   1018, which is the purse

supplied by LEVASHOV, under his Severa alias, when requesting payment for his spamming

services. In fact, on the forum Exploit.IN on or about October 29,2016, Severa inquired as to

what type of spam another individual wanted to send, suggesting "mules, dating, phishing, Malvar

[sic]". LEVASHOV later told the individual that payment could be sent by either Webmoney or
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bitcoin and provided his WebMoneypurse ending in 1018.

           81. I identified two instances when 9I.122.62.16     accessed the WebMoney account

ending in 4986, expressed by WebMoney in terms of dates/times when access would "begin" and

"end." In the first instance, I observed that LEVASHOV received      an iTunes update from Apple,

via   91   .122.62.16, approximately 11 hours prior to when the WebMoney account was accessed

from that same IP address. In the second instance, that IP address accessed the WebMoney account

between l|llay 17 and 18, 2016, and I observed one iTunes update a little over an hour prior to that

period and another update approximately 14 hours after that access period ended.

            82.   Furthermore, analysis on data provided by Google revealed that on or about June

4,2013, the following search terms were attributed to the account peteknyazevTTT@gmail.com,

an account used by    LEVASHOV in connection with his Xorra6brq app: "kelihos" and "kelihos.f '.

Further analysis of the data provided by Google showed that the cell phone number associated to

this account is LEVASHOV's mobile number ending in 0594. Furthermore, this account was

accessed from 91 .122.62.16 multiple times.

            83.   Based on analysis of the VPN data from both servers, agents have observed that

ICQ 104967 used the VPN to engage in ICQ encrypted communications. One example of that

occurred on or about February 22,2016 from at or about 12:36 p.m. to at or about l:52 p.m. when

ICQ 104967 used the VPN. More recently, agents located within the data from the .90 server the

following HTTP GET request                        on      November 24, 2016:                  "GET

/whitepages/online&icy104967&img:5 HTTP/I.1". A GET request is the technical method by

which one computer solicits information from another computer via the lnternet. It is essentially

one computer providing a request for information from another computer. This particular GET

request was from the .90 server to IP address 178.231 .20.20. A Whois lookup conducted on March

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l0,20ll    using the website centralops.net revealed the Domain Name associated with IP address

178.237.20.20 to be "ICQ.COM". Thus, based on my training and experience, I believe that the

.90 server was requesting information from ICQ regarding user 104967, which as detailed above

is the ICQ handle used by Severa.

                                            CONCLUSION

          84.    Based on my investigation, and the investigation of others, there is probable cause

to believe and   I do believe   that PETER YURYEVICH LEVASHOV, a.k.a. "Petr Levashov,"

"Peter Severa," "Petr Severa," artd "sergey Astakhov," has committed violations of Title 18,

United States Code, Sections 371 (conspiracy to commit fraud and related activity in connection

with computers and fraud and related activity in connection with electronic e-mail),            1349

(conspiracy to commit wire fraud), 1028(a)(7) (identity theft in connection with another federal

violation); 10284 (aggravated identity theft), 1030(aX2) and (c)(2)(B), (a)(a) and (c)(3)(A),

(a)(5XA) and (c)(a)(B), and (aX7) and (c)(3)(A) (fraud and related activity in connection with

computers), 1037(a)(1), (a)(2), (a)(3) and (b)(1) (fraud and related activity in connection with

electronic e-mail), 1343 (wire fraud), 2511 (illegal wiretapping), and 981(aXl) (as incorporated

by 28 U.S.C. $ 2a61(c)) and 1037(c) (forfeiture).

          85.    Accordingly,   I   request the issuance   of a complaint and warrant authorizing his

arrest.
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                                     REOUEST FOR SEALING

       86.     I further   request that the Court order that all papers   in support of this application,

including the affidavit, arrest warrant, criminal complaint, and order to seal, be sealed until further

order of the Court. These documents discuss a criminal investigation that is neither public nor

known to all of the targets of the investigation. Accordingly, there is good cause to seal these

documents because their premature disclosure may give targets an opportunity to flee/continue

flight from prosecution, destroy or tamper with evidence, change patterns of behavior, notify

confederates, or otherwise seriously jeopardize the investigation.

                                                     Respectfully submitted,




                                                     Special Agent
                                                     Federal Bureau of Investigation




Subscribed and sworn to before me on      March Z'l.rOtr.

                     /s/William I. Garfinkel
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